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                                                   Defendant LMHS Production000346
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                                                   Defendant LMHS Production000347
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                                                   Defendant LMHS Production000348
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                                                   Defendant LMHS Production000349
